Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1 of
                                                     Page    2437
                                                          2 of  PageID #:1104
                                                                  PageID #:732
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2 of
                                                     Page    2437
                                                          3 of  PageID #:1105
                                                                  PageID #:733
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    3 of
                                                     Page    2437
                                                          4 of  PageID #:1106
                                                                  PageID #:734
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    4 of
                                                     Page    2437
                                                          5 of  PageID #:1107
                                                                  PageID #:735
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    5 of
                                                     Page    2437
                                                          6 of  PageID #:1108
                                                                  PageID #:736
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    6 of
                                                     Page    2437
                                                          7 of  PageID #:1109
                                                                  PageID #:737
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    7 of
                                                     Page    2437
                                                          8 of  PageID #:1110
                                                                  PageID #:738
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    8 of
                                                     Page    2437
                                                          9 of  PageID #:1111
                                                                  PageID #:739
 Case:1:07-cv-00036
Case:  1:07-cv-00036Document
                     Document#:#:124-1
                                  132 Filed:
                                       Filed:01/12/11
                                              12/16/10Page
                                                       Page9 10
                                                             of 24 PageID
                                                                of 37     #:1112
                                                                      PageID #:740
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1011
                                                     Page  of of
                                                              2437
                                                                 PageID #:1113
                                                                   PageID #:741
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1112
                                                     Page  of of
                                                              2437
                                                                 PageID #:1114
                                                                   PageID #:742
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1213
                                                     Page  of of
                                                              2437
                                                                 PageID #:1115
                                                                   PageID #:743
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1314
                                                     Page  of of
                                                              2437
                                                                 PageID #:1116
                                                                   PageID #:744
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1415
                                                     Page  of of
                                                              2437
                                                                 PageID #:1117
                                                                   PageID #:745
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1516
                                                     Page  of of
                                                              2437
                                                                 PageID #:1118
                                                                   PageID #:746
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1617
                                                     Page  of of
                                                              2437
                                                                 PageID #:1119
                                                                   PageID #:747
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1718
                                                     Page  of of
                                                              2437
                                                                 PageID #:1120
                                                                   PageID #:748
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1819
                                                     Page  of of
                                                              2437
                                                                 PageID #:1121
                                                                   PageID #:749
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    1920
                                                     Page  of of
                                                              2437
                                                                 PageID #:1122
                                                                   PageID #:750
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2021
                                                     Page  of of
                                                              2437
                                                                 PageID #:1123
                                                                   PageID #:751
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2122
                                                     Page  of of
                                                              2437
                                                                 PageID #:1124
                                                                   PageID #:752
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2223
                                                     Page  of of
                                                              2437
                                                                 PageID #:1125
                                                                   PageID #:753
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2324
                                                     Page  of of
                                                              2437
                                                                 PageID #:1126
                                                                   PageID #:754
Case:1:07-cv-00036
Case: 1:07-cv-00036Document
                   Document#:
                            #:124-1
                               132 Filed: 01/12/11
                                     Filed:        Page
                                            12/16/10    2425
                                                     Page  of of
                                                              2437
                                                                 PageID #:1127
                                                                   PageID #:755
